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                                                                   SENTENCING

Date: 4/13/2011                                                                             Judge:            Ellis
                                                                                            Reporter:         M.Rodriquez
                                                                                            Start:            10:03
                                                                                            End:              10:58
                                                                                            Interpreter

UNITED STATES of AMERICA
                V.
          Jubair Ahmad                                      Case Number: 1:11cr00554-001

Counsel/Govt:         John Gibbs, Neil Hammerstrom                         Counsel/Deft:            Brian Mizer

Court adopts PSI (X )                     without exceptions ( )                          with exceptions:



SENTENCING GUIDELINES:                                                                  Court departs from Guidelines pursuant to:
Offense Level: See Judgment                                                               USSG 5H1.4
Criminal History:                                                                         USSG 5K1.1
Imprisonment Range:        to    months                                                   USSG 5K2.12
Supervised Release Range:     to     years                                                USSG 5C1.2
Fine Range: $       to $                                                                  Other:
Restitution $ 00

Special Assessment $100             ( ) Satisfied              ( ✘ ) Unsatisfied, due immediately                    Mandatory Minimum



JUDGMENT OF THE COURT:                                           Plea(X )-OR- Trial ( )
BOP for     144      months
Supervised Release for 5 Years, with special conditions:                                 (X ) Yes        ( ) No
Supervised Probation for         Years, with special conditions:                         ( ) Yes         ( ) No
Fine Imposed of $       0 due immediately/ monthly installments of $0.00 to begin w/in    days
Restitution of $ 0 due immediately/ monthly installments of $0.00 to begin w/in 60 days of release from custody
(X )Fine/costs of incarceration waived

SPECIAL CONDITI
Deft shall cooperate fully in removal proceedings.                                                                                       _

RECOMMENDATIONS to BOP:
     Dft. To be designated to: a
     Dft. designated to facility to participate in ICC (Boot Camp) type program
     Dft. to participate in Residential Drug Abuse Treatment Program (RDAP)
     Other:

Deft: (X ) Remanded         ( ) Cont’d on Bond to Self-Surrender                 ( ) Referred to USPO        ( ) Immediate Deportation
